       Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 1 of 12




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION
CINDY BUCHANAN,
                                                    Case No. _____
            Plaintiff,

v.

GENTIVA HEALTH SERVICES, INC.,

            Defendant.



                                 COMPLAINT
      NOW COMES Plaintiff Cindy Buchanan (“Plaintiff”), by and through

counsel, complaining of Defendant Gentiva Health Services, Inc., (“Defendant

Gentiva”), and allege and say:

      1.    This case arises out of Defendant Gentiva’s systemic, company-wide

unlawful treatment of employees including the Plaintiff that Defendant Gentiva

wrongfully classified as exempt from overtime compensation under the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. 201, et seq.

      2.    In order for an employee to be exempt from the FLSA overtime

compensation requirements, Defendant Gentiva must establish both that the

employee performs duties which meet one of the exempt categories, and also that



1975679.1
       Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 2 of 12




the employee is compensated on either a salaried basis or on a fee basis. Plaintiff

is compensated by Defendant Gentiva under a scheme which does not comport

with either the salaried basis or the fee basis requirements.      Therefore it is

improper to treat Plaintiff as exempt from overtime requirements of the FLSA.

      3.    Defendant Gentiva has maintained a corporate policy of paying its

Registered Nurses (as well as other visiting health care providers, such asPhysical

Therapists and Occupational Therapists) pursuant to an unlawful compensation

plan which purports to pay on a “per visit” basis for some work, but which bases

those visit payments on estimates of hours worked, and which does not include

unique payments, separately considered for each job, as contemplated by the fee

basis regulations.   Moreover, Gentiva compensated Plaintiff based on hours

worked for regularly assigned work such as case conferences, staff meetings,

training time, and orientation time. Gentiva referred to this system as “pay per

visit” or “PPV.”

      4.    Defendant Gentiva maintains a record of the actual time Plaintiff

spent with patients completing visits. Further, Defendant Gentiva also maintains a

record of Plaintiff’s hours worked in certain non-visit activities that are

compensated based on hours worked. However, Gentiva did not maintain a record

of all hours worked, and did not compensate Plaintiff for all hours worked. In


                                        2
       Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 3 of 12




particular, Plaintiff was required to complete patient-related work, including

completing documentation related to the visit, coordinating care, making related

telephone calls, picking up supplies and dropping off lab work, which was not

regularly, completely recorded.

      5.    Gentiva regularly assigned Plaintiff sufficient visits that in order to

complete all required work, Plaintiff worked more than 40 hours per workweek.

      6.    Based upon Defendant Gentiva’s corporate policy regarding

compensation practices, it misclassified Plaintiff as an exempt employee.

      7.    Gentiva’s PPV compensation system was the subject of litigation in

Rindflesich et al. v. Gentiva Health Services, Inc., No. 10-3288-SCJ (N.D. Ga.).

Plaintiff timely opted in to that action. Plaintiff was a member of a collective

action that litigated the legality of the PPV compensation system. The Court ruled

that the PPV system violated the FLSA because it was not a valid fee basis method

of payment, thus plaintiffs in that action were not properly classified as exempt

from the FLSA’s overtime requirements. Rindfleisch v. Gentiva Health Servs.,

Inc., 962 F. Supp. 2d 1310, 1323 (N.D. Ga. 2013) motion to certify appeal denied,

1:10-CV-03288-SCJ, 2013 WL 8541675 (N.D. Ga. Nov. 4, 2013). However, the

Court subsequently decertified the collective action because of variation in the

unpaid hours worked by each individual. Rindfleisch v. Gentiva Health Servs.,


                                         3
        Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 4 of 12




Inc., 1:10-CV-03288-SCJ, 2014 WL 2002834 (N.D. Ga. Apr. 18, 2014). On the

date that Plaintiffs’ dismissal from Rindfleisch was effective, Plaintiff filed a new

complaint, as one of many plaintiffs included in Bailey et al. v. Gentiva Health

Servs., Inc., 14-CV-01892.       Plaintiffs relied on Rule 20 joinder in filing one

complaint addressing their individual claims. However, on March 4, 2015, the

district court dismissed Plaintiff without prejudice from the Bailey action on

grounds of misjoinder.

       8.     Accordingly, Defendant Gentiva is liable for its failure to pay the

Plaintiff for all hours worked and time and one-half for hours in excess of forty

(40) at their regular rate.

                              JURISDICTION AND VENUE

       9.     The Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 28

U.S.C. § 1331.

       10.    Venue is proper pursuant to 28 U.S.C. § 1391(b) and (c), because

Defendant Gentiva resides in this judicial district in that it has designated its

principal executive offices at a location in this district, and it regularly conducts

business within this judicial district and thus is subject to personal jurisdiction

within this judicial district.




                                          4
        Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 5 of 12




                                     PARTIES
      11.    At all relevant times, Plaintiff Buchanan was a citizen and resident of

North Carolina.

      12.    At all relevant times, Plaintiff was employed by Defendant Gentiva as

a Registered Nurse and was an employee within the meaning of 29 U.S.C. §

203(e)(1).

      13.    Plaintiff previously timely opted-in to the case of Rindfleisch v.

Gentiva Health Services, Inc., and their statute of limitations was tolled during the

time period between filing their opt-in, and dismissal from the case when the

collective action was decertified.    Plaintiff also previously filed an individual

action on the date dismissal from Rindfleisch was effective, and the statute of

limitations was tolled until dismissal from that action (Bailey).

      14.    At all relevant times, Defendant Gentiva has been a Delaware

corporation, with offices in Georgia, conducting substantial business in the state of

Georgia, and having designated its principal executive offices as being located in

Georgia.

      15.    At all relevant times, Defendant Gentiva has operated a home health

care business providing home health care services to patients in 39 states.




                                          5
        Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 6 of 12




      16.    At all relevant times, Defendant Gentiva was an employer within the

meaning of 29 U.S.C. § 203(d).

      17.    At all relevant times, Defendant Gentiva was an enterprise within the

meaning of 29 U.S.C. § 203(r)(1).

      18.    At all relevant times, Plaintiff was an employee engaged in commerce

or in the production of goods for commerce within the meaning of 29 U.S.C. §§

206-207.

                           FACTUAL ALLEGATIONS

      19.    Plaintiff Cindy Buchanan worked for Defendant Gentiva as a

registered nurse in Hickory, NC from July 2008 to December 2009. During the

relevant time period, Gentiva compensated Plaintiff Cindy Buchanan based on the

challenged PPV system described above at ¶¶ 3-8. Plaintiff Cindy Buchanan was

classified as an exempt employee and received no overtime wages. Plaintiff Cindy

Buchanan performed work for the benefit of Gentiva for more than 40 hours per

week on multiple occasions, although not all of those hours were recorded in

Gentiva’s system. Defendant Gentiva did not compensate Plaintiff Cindy

Buchanan for hours over forty (40) that she worked in a given workweek and did

not pay a rate of one and one-half times her regular rate for these hours.




                                          6
          Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 7 of 12




                                    COUNT ONE

         20.   Plaintiff incorporates by reference the allegations asserted above.

         21.   Defendant Gentiva willfully violated the FLSA by misclassifying

Plaintiff as an exempt employee, and a 3-year statute of limitations applies to such

violations, pursuant to 29 U.S.C. § 255.

         22.   At all relevant times, Defendant Gentiva has been, and continues to

be, an “employer” engaged in interstate “commerce” within the meaning of the

FLSA, 29 U.S.C. § 203.

         23.   At all relevant times, Defendant Gentiva has employed, and continues

to employ, “employee[s],” including the Plaintiff, that have been, and continue to

be, engaged in interstate “commerce” within the meaning of the FLSA, 29 U.S.C.

§ 203.

         24.   At all relevant times, Defendant Gentiva has had gross operating

revenues in excess of $500,000.

         25.   Defendant Gentiva has willfully and intentionally engaged in a

widespread pattern and practice of violating provisions of the FLSA by

misclassifying Plaintiff as an “exempt” employee, and thereby failing and refusing

to pay them the hourly wage compensation as required by law and in accordance

with § 206 and § 207 of the FLSA.


                                            7
        Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 8 of 12




      26.      Plaintiff is not employed in a bona fide executive, administrative, or a

professional capacity pursuant to 29 U.S.C. § 213(a)(1) and corresponding

regulations.

      27.      Plaintiff is not subject to any other exemptions set forth in the FLSA

or administrative regulations.

      28.      As a result of Defendant Gentiva’s violations of the FLSA, Plaintiff

has suffered damages by being denied overtime wages in accordance with § 206

and § 207 of the FLSA.

      29.      Defendant Gentiva has not made a good faith effort to comply with

the FLSA with respect to its compensation of Plaintiff.

      30.      As a result of Defendant Gentiva’s unlawful acts, Plaintiff has been

deprived of overtime compensation in amounts to be determined at trial, and is

entitled to recovery of such amounts, liquidated damages, prejudgment interests,

attorneys’ fees, costs, and other compensation pursuant to § 216(b) of the FLSA.

                                    COUNT TWO

      31.      Plaintiff incorporates by reference the allegations asserted above.

      32.      Defendant Gentiva willfully violated the FLSA by not compensating

Plaintiff at overtime rates for all hours worked in excess of 40 hours per




                                            8
          Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 9 of 12




workweek, and a 3-year statute of limitations applies to such violations, pursuant

to 29 U.S.C. § 255.

         33.   At all relevant times, Defendant Gentiva has been, and continues to

be, an “employer” engaged in interstate “commerce” within the meaning of the

FLSA, 29 U.S.C. § 203.

         34.   At all relevant times, Defendant Gentiva has employed, and continues

to employ, “employee[s],” including the Plaintiff, that have been, and continue to

be, engaged in interstate “commerce” within the meaning of the FLSA, 29 U.S.C.

§ 203.

         35.   At all relevant times, Defendant Gentiva has had gross operating

revenues in excess of $500,000.

         36.   Plaintiff is not employed in a bona fide executive, administrative, or a

professional capacity pursuant to 29 U.S.C. § 213(a)(1) and corresponding

regulations.

         37.   Plaintiff is not subject to any other exemptions set forth in the FLSA

or administrative regulations.

         38.   As a result of Defendant Gentiva’s violations of the FLSA, Plaintiff

has suffered damages by being denied overtime wages in accordance with § 206

and § 207 of the FLSA.


                                           9
       Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 10 of 12




      39.    Defendant Gentiva has not made a good faith effort to comply with

the FLSA with respect to its compensation of Plaintiff.

      40.    As a result of Defendant Gentiva’s unlawful acts, Plaintiff has been

deprived of overtime compensation in amounts to be determined at trial, and is

entitled to recovery of such amounts, liquidated damages, prejudgment interests,

attorneys’ fees, costs, and other compensation pursuant to § 216(b) of the FLSA.

                               PRAYER FOR RELIEF
      WHEREFORE, Plaintiff prays that this Honorable Court:

      41.    Awards Plaintiff actual damages for unpaid wages and liquidated

damages equal in amount to the unpaid compensation found due to Plaintiff as

provided by the FLSA;

      42.    Awards Plaintiff pre- and post-judgment interest at the statutory rate

as provided by the FLSA;

      43.    Awards Plaintiff attorneys’ fees, costs, and disbursements as provided

by the FLSA; and

      44.    Awards Plaintiff further legal and equitable relief as this Court deems

necessary, just, and proper.

                                 JURY DEMAND
      Plaintiff hereby demands a trial by jury on all issues so triable.



                                         10
       Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 11 of 12




   Respectfully submitted,

April 16, 2015

                                   By:/s/ Amanda A. Farahany
                                   AMANDA A. FARAHANY

                                      BARRETT & FARAHANY, LLP
                                      Amanda A. Farahany, GA Bar No. 646135
                                      1100 Peachtree Street, NE
                                      Suite 500
                                      Atlanta, GA 30309
                                      404-214-0120
                                      amanda@bf-llp.com

                                      THE LAW OFFICES OF GILDA A.
                                      HERNANDEZ, PLLC
                                      Gilda A. Hernandez
                                      315 S. Salem Street, Suite 310
                                      Apex, NC 27502
                                      (919) 741-8693
                                      ghernandez@gildahernandezlaw.com

                                      Counsel for Plaintiffs




                                    11
      Case 1:15-cv-01196-WBH Document 1 Filed 04/16/15 Page 12 of 12




                              Font Certification

     The undersigned hereby certifies that this pleading complies with the font

requirements of LR 5.1B because the document has been prepared in Times New

Roman, 14 point.




                                       12
